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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                          )       Case No. 6:08-CR 00034
                                            )
                                            )
DAVID EISENLOHR                             )


                          DEFENDANT’S TRIAL MEMORANDUM


     David Eisenlohr stands charged in a three-count second superceding indictment. Counts 1 and

2 allege respectively that on October 26, 2006 and September 25, 2006 he shipped in interstate

commerce a visual depiction, the production of which involved the use of a minor engaging in

sexually explicit conduct and which depicted such conduct in violation of 18 USC Section

2252(a)(1) and (2). Count 3 alleges that on November 9, 2006 Mr. Eisenlohr advertised for

distribution visual depictions of minors engaging in sexually explicit conduct in violation of 18

USC Section 2251(d)(1)(A) and 2. He submits this trial memorandum in anticipation of his

bench trial set for April 1, 2009.

Factual Background

     On March 24, 2006, South Boston Virginia police officers arrested David Tetterton after he

had visited a Walmart and developed and printed items appearing to be child pornography. In a

subsequent search of Tetterton’s home officers found, among other items, brochures and sales

receipts from Insider’s Video Club (IVC). As the parties have stipulated, David Eisenlohr is the

owner and operator of IVC, a company based in Hollywood, California that markets and
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distributes videos and photograph sets.

      IVC does not distribute adult pornography or x-rated films. Its inventory and offerings include

foreign films and television series as well as “naturist” films. These “naturist” films are the focus

of this prosecution.          Essentially, they depict people in the nude going about their daily

(nonsexual) activities. One film, for example, is entitled “Oskar and His Moped.” It lasts 30

minutes or so and shows a boy tinkering with his motorcycle, sitting on it, riding it, and standing

by it. The boy is nude except for a pair of tennis shoes and socks. He engages in no sexual

acts—he simply rides and works on his motorcycle. Other films of this genre include “Sunny

Boys” (boys on vacation in Ukraine, includes scene of two boys in a sauna), “Sun, Water and a

Dog” ( three boys at a beach), and “Let’s Go Camping” ( two boys camping on a beach).

      United States Postal Service Agents acquired these films and other items from IVC by

following up on the investigation of Tetterton. Agent Mary Aldridge, posing as a customer,

ordered films from IVC and later sought and obtained warrants to search IVC’s office in

Hollywood.1 The court will view some of the seized films and photosets, will see the advertising

IVC developed for the films and be asked to determine whether the seized items are child

pornography and if so whether Mr. Eisenlohr is criminally liable for distribution and advertising

of child pornography.

Discussion of the Statutes

      “Lascivious Exhibition”

      Each of the statutes Mr. Eisenlohr is alleged to have violated has in common the element that

the visual depiction distributed or advertised was of a “minor engaging in sexually explicit

1
    IVC no longer is in business. The government has all of its computers, much of its inventory, and nearly all of its

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conduct.” The statute (18 USC Section 2256) lists five categories of such conduct: 1. “sexual

intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal;” 2. bestiality; 3.

masturbation; 4. sadistic or masochistic abuse; and 5. “lascivious exhibition of the genitals or

pubic area of any person.”

   In this case, as noted, none of the videos or images shows sexual activity. The case, therefore,

centers on the phrase “lascivious exhibition of the genitals or pubic area”— a phrase whose

meaning has been appropriately described as “less than crystal clear” but which has withstood

challenges that it is unconstitutionally vague. United States v. Wolf, 890 F. 2d 241, 243 (10th Cir.

1989); see also United States v. X-Citement Video, 513 U.S. 64 (1994)(use of term lascivious to

define prohibited material is constitutional on its face). A sampling of the cases construing the

term provides guidance for making this fact-bound determination.2

   The leading case is United States v. Dost, 636 F. Supp. 828 (S.D. Cal. 1986) aff’d sub. nom.

United States v. Wiegand, 812 F. 2d 1239 (9th Cir. 1987). Its guidance for construing the term

“lascivious exhibition” has been adopted by several circuits and is included in the pattern jury

instructions in several circuits. See United States v. Amirault, 173 f. 3d 28 (1st Cir. 1999); United

States v. Knox, 32 F. 3d 733 (3rd Cir. 1994); United States v. Rubio, 834 F. 2d 442 (5th Cir.

1987); United States v. Campbell, 81 Fed. Appx. 532 (6th Cir. 2003); United States v. Moore, 215

F. 3d 681 (7th Cir. 2000); United States v. Horn, 187 F. 3d 781 (8th Cir. 1999); Wolf, supra..3



business records. Mr. Eisenlohr, age 76, does not intend to restart his business.
2
  “Lascivious” is defined as tending to excite lust; lewd; indecent; obscene; sexual impurity; tending to deprave the
morals in respect to sexual relations; licentious.” Black’s Law Dictionary, 882 (6th ed. 1990).
3
  It does not appear that the Fourth Circuit has decided one way or the other whether the Dost factors should be
considered in the same way as in these other Circuits. At least one district court has found them helpful in making
the lasciviousness determination. United States v. Whorley, 400 F. Supp. 2d 880 (E.D. Va. 2005)(ruling that expert
testimony on whether images were a lascivious exhibition was not admissible as this was a commonsense
determination informed by consideration of the Dost factors). In United States v. Nemuras, 740 F. 2d 286 (4th Cir.
1984), the court affirmed a child pornography conviction of a man who photographed a 4-year old child in various
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    In Dost, the defendants took photographs of a 14-year old girl and a 10-year old girl. The

girls were nude and posed in “unnatural positions.” None depicted sexual acts, however, so the

court focused entirely on whether the photographs depicted a “lascivious exhibition of the

genitals.” The court suggested that in making this determination, triers of fact should consider the

following factors:

   1) whether the focal point of the visual depiction is on the child's genitalia or pubic area;

    2) whether the setting of the visual depiction is sexually suggestive, i.e., in a place

    or pose generally associated with sexual activity;

    3) whether the child is depicted in an unnatural pose, or in inappropriate attire,

   considering the age of the child;

    4) whether the child is fully or partially clothed, or nude;

    5) whether the visual depiction suggests sexual coyness or a willingness to engage in

    sexual activity;

    6) whether the visual depiction is intended or designed to elicit a sexual response in the

    viewer.

Dost, 768 F. Supp. at 832.

   Applying these factors, the court determined that the photographs were a prohibited

exhibition of the genitals. The court noted that the photographs showed the nude children

in various posed unnatural positions—“pelvic area slightly raised or hyper extended,” legs

“spread apart,” pubic area the “prominent focal point of the photograph.” Id. at 833.               All

in all, the court concluded that the poses were “sexual poses” suggesting a “willingness to



nude and semi-nude poses and sold the photos. With little discussion, the court determined that the photos were a
“lewd exhibition of the genitals or pubic area” of the child.
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engage in sexual activity.” Id.

   As noted, several other courts have adopted the Dost factors as at least being useful in making

the determination whether an image is a lascivious exhibition of the genitals within the meaning

of the federal statute. In United States v. Villard, 885 F. 2d 117 (3rd Cir. 1989), the court

described the factors as “provid[ing] specific, sensible meaning to the term lascivious” and noted

that “[a]lthough more than one factor must be present in order to establish ‘lasciviousness,’ all six

factors need not be present.” Id. at 122.   Under consideration in Villard were photographs from

a magazine entitled “Beach Boys No. 2.” The photographs, purchased in a “gay bookstore,”

showed a 14 to 15-year old boy, fully nude, “semi-erect,” and appearing to be sleeping. Id. at

119.   In reversing the jury’s finding that the photographs were a lascivious exhibition of a

minor’s genitals in violation of the federal statute, the court noted that the boy was not in an

unnatural pose, that there were no facial expressions or gestures suggesting a willingness to

engage in sexual activity, and that while the photographs could elicit a sexual response in viewers

they did not appear to be designed to elicit such a response.

   The court’s discussion of this final point bears emphasis as we anticipate that it will be

particularly important in this case. The court reasoned:

   Although it is tempting to judge the actual effect of the photographs on the viewer, we
   must focus instead on the intended effect on the viewer. We agree with the view expressed
   by the district court in this case:

  Child pornography is not created when the pedophile derives sexual enjoyment from an
  otherwise innocent photo. As the Ninth Circuit stated, "Private fantasies are not within the
  statute's ambit." United States v. Weigand, 812 F.2d at 1245. When a picture does not
  constitute child pornography, even though it portrays nudity, it does not become child
  pornography because it is placed in the hands of a pedophile, or in a forum where
  pedophiles might enjoy it. Faloona v. Hustler Magazine, Inc., 607 F. Supp. 1341 (N.D.Tex.
  1985) (nude pictures of children did not constitute child pornography when published in
  "legitimate" Sex Atlas or in "raunchy" Hustler magazine, because they did not depict
  children engaged in sexual conduct).
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  We must, therefore, look at the photograph, rather than the viewer. If we were to conclude
  that the photographs were lascivious merely because Villard found them sexually arousing,
  we would be engaging in conclusory bootstrapping rather than the task at hand -- a legal
  analysis of the sufficiency of the evidence of lasciviousness.

Villard, 885 F. 2d at 125.

   Villard is not old law. More recently, in Doe v. Chamberlain, 139 F. Supp. 2d 637 (M.D.

Pa. 2001) affirmed 299 F. 3d 192 (3rd Cir. 2002), the court undertook a thoughtful

examination of whether images constituted a lascivious exhibition of a minor’s genitals or

pubic area in the context of a civil suit by parents upset with a photographer who

photographed their children without the parents’ consent. Among the photographs under

consideration were photographs of nude children taking a shower at the beach. The court

described the photographs as follows:

   There are no close-ups among the photos, and the focal point of many of the shots
   appears to be the stream of water falling into the midst of the girls from a shower
   head affixed to the side of a house or similar structure. The four minor girls are
   huddled in a circle facing the water streaming through the center of the group. In
   some of the photographs, one or more of the girls has her face turned upward to catch
   the falling water. If the stream of water is not the focal point of a particular
   photograph, there likely is no focal point, unless, perhaps, it is the face of a minor
   who is looking into the camera. In any event, there is nothing about any of the beach
   photos that would tend to draw the eye to the pubic area of any of the minors.

Id. at 633-634. The court held that the photographs were not a lascivious exhibition

within the meaning of the federal statute noting that there was no hint of sexual coyness,

that nudity alone is not sufficient to establish lasciviousness, that there were no close-ups

of the pubic area, and that while a jury might find “some association” with a shower and

a sexual act this would be “minimal” support for a finding of lasciviousness. Id. at 643.

   In affirming the lower court, the Third Circuit agreed that “no reasonable juror could


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find the beach photos lascivious—that is, so presented by the photographer as to arouse

or satisfy the sexual cravings of a voyeur.” Doe v. Chamberlain, 299 F. 3d at 196.

Addressing another set of photographs, studio shots of girls in transparent clothing, the

court likewise affirmed the district court’s finding that the photos were not lascivious. In

the words of the district court, “[t]ransparent clothing without more, is simply not enough

to justify a finding of lasciviousness.” Doe, 139 F. Supp. 2d at 646.

    The teaching of the above cases and others4 addressing whether images are a

lascivious exhibition in violation of the federal statute is two-fold. First, nudity alone is

not sufficient to qualify as a lascivious exhibition. Second, the inquiry focuses on the

images, the photographs, the videos themselves and not on the possible reactions of

viewers.    An image is not a lascivious exhibition because one can imagine that a

pedophile would be sexually aroused by the image. The inquiry focuses on the image

and the Dost factors are a useful tool in answering the question whether the image is one

intended to elicit a sexual response from the viewer.

    Scienter

     Each of the charges against Mr. Eisenlohr alleges that he “knowingly” either shipped

child pornography in violation of 18 USC Section 2252 (Counts 1 and 2) or advertised

child pornography in violation of 18 USC Section 2251 (Count 3). In United States v. X-

Citement Video, 513 U.S. 64 (1994), the Court held that in the context of 18 USC



4
 See e.g., United States v. Helton, 2008 U.S. App. LEXIS 25201 (10th Cir. 2008)(applying Dost factors in affirming
conviction of man who secretly videotaped girl using the bathroom); United States v. Miller, 2006 U.S. Dist. LEXIS
72096 (M.D. Pa. 2006)(applying Dost in finding that photograph of naked girl pulling her underpants down around
her upper thighs was lascivious exhibition as it was sexually suggestive and unnatural); United States v. Rivera,
2006 U.S. Dist. LEXIS 65971 (D. Conn. 2006)( applying Dost in finding that photographs of boy in sexually
suggestive poses (legs spread, in anal sex position) were lascivious exhibition).
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Section 2252 the term “knowingly” applies broadly to both the actions prohibited by the

statute (possessing, receiving, or shipping) and to “the sexually explicit nature of the

material as well as to the age of the performers.“ Id. at 78; see also United States v.

Acheson, 195 F. 3d 645, 653 (11th Cir. 1999).(government must show that individual not

only received or distributed the material, but that he did so believing that the material was

sexually explicit in nature and that it depicted a person who appeared to him to be, or that

he anticipated would be under 18 years of age.)

  Thus, pattern jury instructions (attached as exhibit 1) for 18 USC Section 2252(a)(1)

offenses (Counts 1 and 2) require the government to prove:

   1. That the defendant knowingly mailed or shipped a visual depiction in interstate

       commerce;

   2. That the production of such visual depiction involved the use of a minor engaging

       in sexually explicit conduct;

   3. That such visual depiction is of a minor engaged in sexually explicit conduct; and

   4. That the defendant knew that at least one of the performers in such visual

       depiction was of such minor engaged in sexually explicit conduct.

Eleventh Circuit Pattern Jury Instructions, No. 75.1, Thomson West 2003; see also

Modern Federal Jury Instructions-Criminal, Section 62.02, Matthew and Bender 2008.

   The reasoning and holding of X-Citement Video, should apply with equal force to the

advertising charge under 18 USC Section 2251(d)(1). The statute, as noted, uses

“knowingly” in the same way as does Section 2252 and includes the same requirements

that the subject matter (in this instance advertising) be of a minor engaged in sexually


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explicit conduct. Accordingly, defendant submits that as to the advertising count the

government must prove:

   1. That he knowingly printed or published or caused to be printed or published a

       notice and advertisement to distribute and reproduce a visual depiction;

   2. That the visual depiction was of a minor engaging in sexually explicit conduct;

       and

   3. That he knew that at least one of the performers in such visual depiction was of

       such minor engaged in sexually explicit conduct.

      Conclusion

       David Eisenlohr submits this memorandum to assist the court in trying this case and

anticipates moving for acquittal at the appropriate time as the materials at issue are not child

pornography and he did not knowingly distribute such.



                                              Respectfully Submitted,


                                              DAVID EISENLOHR
                                              By Counsel

s/Randy V. Cargill
Assistant Federal Public Defender
Office of the Federal Public Defender
       for the Western District of Virginia
210 1st Street, Suite 400
Roanoke, VA 24011
(540) 777-0880



                                 CERTIFICATE OF SERVICE

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       I hereby certify that a true copy of the foregoing document was electronically filed
with the Clerk of Court and will be forwarded using the CM/ECF system to Assistant
United States Attorney Jeb Terrien counsel for the United States this 23rd day of March,
2009.
                                           s/Randy Cargill




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